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 4
     Attorney for Defendant
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 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,               )   Case No.: 2:18 CR 266 WBS
10                                           )
                          Plaintiff,         )   STIPULATION REGARDING EXCLUDABLE TIME
11                                           )   PERIODS UNDER SPEEDY TRIAL
     vs.                                     )   ACT;[PROPOSED] FINDINGS
12                                           )
     WILLIS et al.,                          )   Date: May 6, 2019
13                                           )   Time: 9:00 a.m.
                          Defendants.        )   Judge: Honorable William B. Shubb
14                                           )

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16         The United States of America through its undersigned counsel, Robert J,

17   Artuz, Assistant United States Attorney, together with counsel for defendant

18   Eric Lemoyne Willis, Daniel Lars Olsen, Esq., and counsel for defendant

19   Darron Dimitri Ross, John R. Manning, Esq., hereby stipulate the following:

20         1.     By previous order, this matter was set for status conference on

21   March 11, 2019.

22         2.     By this stipulation the defendants now move to continue the status

23   conference until May 6, 2019 and to exclude time between March 11, 2019 and

24   May 6, 2019 under the Local Code T-4 (to allow defense counsel further time

25   to prepare).

26         3.     The parties agree and stipulate, and request the Court find the

27   following:

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 1   a. Counsel for defendant Darron Dimitri Ross was appointed on February

 2      21, 2019.   On March 1, 2019, the government provided the defense

 3      with 3,286 pages and a few audio files of initial discovery.     The

 4      government has indicated they will ultimately produce approximately

 5      12,000 pages of discovery as well as numerous electronic files to

 6      the defense in this matter.

 7   b. Counsel for the defendants need additional time to review the

 8      discovery, conduct investigation, and interview potential witnesses.

 9   c. Counsel for the defendants believe the failure to grant a

10      continuance in this case would deny defense counsel reasonable time

11      necessary for effective preparation, taking into account the

12      exercise of due diligence.

13   d. The government does not object to the continuance.

14   e. Based on the above-stated findings, the ends of justice served by

15      granting the requested continuance outweigh the best interests of

16      the public and the defendants in a speedy trial within the original

17      date prescribed by the Speedy Trial Act.

18   f. For the purpose of computing time under the Speedy Trial Act, 18

19      United States Code Section 3161(h)(7)(A) within which trial must

20      commence, the time period of March 11, 2019, to May 6, 2019,

21      inclusive, is deemed excludable pursuant to 18 United States Code

22      Section 3161(h)(7)(A) and (B)(iv), corresponding to Local Code T-4

23      because it results from a continuance granted by the Court at the

24      defendants’ request on the basis of the Court’s finding that the

25      ends of justice served by taking such action outweigh the best

26      interest of the public and the defendants in a speedy trial.

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 1            4.     Nothing in this stipulation and order shall preclude a finding that

 2   provision of the Speedy Trial Act dictate that additional time periods are

 3   excludable from the period within which a trial must commence.

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 5   IT IS SO STIPULATED.

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     Dated:        March 5, 2019                       /s/ Daniel Lars Olsen
 7                                                     DANIEL LARS OLSEN
                                                       Attorney for Defendant
 8                                                     Eric Lemoyne Willis

 9   Dated:        March 5, 2019                       /s/ John R. Manning
                                                       JOHN R. MANNING
10                                                     Attorney for Defendant
                                                       Darron Dimitri Ross
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12
     Dated:        March 5, 2019                       McGregor W. Scott
13                                                     United States Attorney

14                                                     by: /s/ Robert J. Artuz
                                                       ROBERT J. ARTUZ
15                                                     Assistant United States Attorney

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18                                             ORDER

19   IT IS SO FOUND AND ORDERED.

20   Dated:        March 5, 2019

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